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                           BEFORE THE UNITED STATES
                  JUDICIAL PANEL ON MULTIDISTRICT LITIGATION




 In re: Real Estate Commission Litigation            MDL. No. 3100




         RESPONSE OF DEFENDANT UNITED REAL ESTATE TO
MOTION FOR TRANSFER AND CENTRALIZATION PURSUANT TO 28 U.S.C. § 1407

       Defendant United Real Estate (“United”), by and through its undersigned counsel and

pursuant to Rule 6.1(c) of the Rules of Procedure for the United States Judicial Panel on

Multidistrict Litigation (the “Panel”), submits this Response to Gibson and Umpa Plaintiffs’

Motion for Transfer and Centralization to the Western District of Missouri pursuant to

28 U.S.C. § 1407 (ECF No. 1) (the “Motion”).

                                           ARGUMENT

       United supports the centralization under 28 U.S.C. § 1407 of the actions identified in the

Motion. However, United disagrees that the Western District of Missouri is the most appropriate

district for centralization. Instead, United submits that the Panel should centralize the action in the

Eastern District of Texas. United would also not oppose transfer to the Western District of

Pennsylvania or the Northern District of Illinois.

       The Panel Should Centralize in the Eastern District of Texas rather than the Western
       District of Missouri

       The Eastern District of Texas is the most appropriate choice for the transferee district. Not

only is United Real Estate’s parent company headquartered in Texas, but dozens of the defendants

named in the Motion-identified actions also call Texas home. In contrast, relatively few defendants

are headquartered in Missouri, making the evidence in this case much more likely to be found in
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Texas than Missouri. See In re Lithium Ion Batteries Antitrust Litig., 923 F. Supp. 2d 1370, 1371

(J.P.M.L. 2013) (“relevant documents and witnesses may be found in the [district] as several

defendants have major facilities or lithium ion battery business in or near the district”). Moreover,

with the other parties in the Motion-identified actions and their counsel scattered across the

country, the Eastern District of Texas location—more specifically the federal district courthouse

in Plano in which Judge Jordan (who presides over QJ Team and Martin) sits—is far more

convenient for travel. Unlike Kansas City, Dallas is home to two large commercial airports that

serve as hubs for two major airlines, American Airlines and Southwest Airlines, and feature

multiple daily direct flights to most large and mid-sized cities.

       While United understands that the Eastern District of Texas has a relatively high caseload,

it boasts a short average time from filing to trial of only nineteen months.1 Moreover, Judge Jordan,

unlike Judge Bough (who presides over Gibson and Umpa), is not currently presiding over an

MDL. In fact, this Panel has not yet assigned Judge Jordan an MDL. Given his background and

current handling of Texas et al. v. Google, LLC,2 a multi-state antitrust enforcement litigation,

Judge Jordan is certainly capable of evaluating complex antitrust issues and ensuring an efficient

and effective proceeding.

       Finally, while the Gibson and Umpa Plaintiffs claim that the Western District of Missouri

has the advantage as the site of the first filed case, which happens to be pending before Judge

Bough who also presided over the Burnett trial, in reality, the district is simply the target of their

calculated forum shopping. Gibson was filed on the same day that Burnett delivered its verdict.

And, Umpa was filed on the same day that the Motion was filed with this Panel. Both Gibson and


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   See U.S. COURTS, Federal Court Management Statistics: U.S. District Courts - Federal Court
Management Statistics–Profiles (September 30, 2023), https://www.uscourts.gov/report-name/federal-
court-management-statistics.
2
  Texas et al. v. Google, LLC, No. 4:20-cv-00957-SDJ (E.D. Tex.).
                                                  2
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Umpa seek certification of a nationwide class against defendants from across the country—with

the named plaintiff in Umpa having absolutely no connection to Missouri. The Western District of

Missouri is not the unbiased superior district to host this centralized action; it is simply Plaintiffs’

perceived best choice.

        United Does Not Oppose Transfer to the Western District of Pennsylvania or the
        Northern District of Illinois

        As an alternative to the Eastern District of Texas, United does not oppose transfer of the

Motion-identified actions to the Western District of Pennsylvania or the Northern District of

Illinois for the reasons described in the responses by other defendants.

                                          CONCLUSION

        The Panel should centralize the actions identified in the Motion and transfer them to the

Eastern District of Texas or, in the alternative, to the Western District of Pennsylvania or Northern

District of Illinois.

Dated: January 26, 2024                                Respectfully submitted,

                                                       /s/ Timothy R. Beyer
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